Case 2:11-cv-00464-ES-CLW Document 29 Filed 03/20/13 Page 1 of 1 PageID: 166



                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

          CHAMBERS OF                                             MARTIN LUTHER KING COURTHOUSE
         ESTHER SALAS                                                      50 WALNUT ST.
   UNITED STATES DISTRICT JUDGE                                              ROOM 2037
                                                                          NEWARK, NJ 07101
                                                                            973-297-4887
                                         March 20, 2013



                                       LETTER ORDER

       Re:      Martin v. Target Corporation of Minnesota, et al.
                Civil Action No. 11-0464 (ES)

Dear Counsel:

        Pending before this Court is Defendant Target Corporation’s Motion for an Order
Enforcing Settlement (the “Motion,” D.E. No. 19). Plaintiff Pearline Martin opposed the Motion.
(Mem. of Law in Opp. to Def.’s Mot. to Enforce Settlement, D.E. No. 26). Defendant filed a
reply brief in support of its Motion. (Br. in Reply to Pl.’s Opp. to Def. Target Corp.’s Mot. for an
Order Enforcing Settlement, D.E. No. 27). On February 22, 2013, Magistrate Judge Cathy
Waldor issued a Report and Recommendation recommending that this Court grant the Motion as it
relates to enforcing the settlement and deny the Motion as it relates to costs and fees associated
with filing the Motion. (D.E. No. 28). Magistrate Judge Waldor advised the parties that they
had fourteen days to file and serve any objections to the Report and Recommendation pursuant to
Local Civil Rule 72.1(c)(2). To date, neither party has filed any objections.

       The Court has reviewed the parties’ submissions and has considered Judge Waldor’s
Report and Recommendation, and for the reasons stated therein,

       IT IS on this 20th day of March, 2013,

         ORDERED that this Court adopts Judge Waldor’s February 22, 2013 Report and
Recommendation in full, and thus grants Defendant’s Motion as it relates to enforcing the
settlement and denies the Motion as it relates to costs and fees associated with filing the Motion;
and it is further

       ORDERED that the Clerk of the Court shall terminate Docket Entry Nos. 19 and 28.


       SO ORDERED.

                                              s/Esther Salas
                                              Esther Salas, U.S.D.J
